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Exhibit E

SUMMARY OF ATTORNEYS AND LEGAL ASSISTANTS
RENDERING SERVICES DURING THE PERIOD

SEPTEMBER 01, 2010 THROUGH SEPTEMBER 30 2610

Name of Position of the Applicant, Number Hourly | Total | Total

Professional of Years in that Position at Current | Billing Billed | Compensation

Person or Prior Firms, Year of Obtaining Rate Hours | Requested (£)
License to Practice, Area of
Expertise

Giles Boothman Partner for 9 years; Admitted in 1993; £650 2.50 1,625.00
Restructuring and Special Situations
Group, UK

Angela Pearson Partner for 4 years; Admitted in 1991, £625 39.00 | 24,375.00
Litigation Group, UK

Nadine Gelli Partner for 2 years; Admitted in 1998 Tax | £600 0.70 420,00
Group, France

Eric Bouffard Partner for 4 years; Admitted in 1935 £625 4.30 2,687.50
(France); Litigation and Restructuring
Paris - ,

Steven Hull Partner for 13 years; Admitted in 1989; £625 1,50 937.50
Employment, Incentives and Pensions
Group, UK

Luke Rollason Associate for 6 years; Admitted in 2004; £490 1.00 490.00
Restructuring and Special Situations
Group, UK

Paul Bagon Associate for 2 years; Admitted in 2008; £350 36.80 | 12,880.06
Restructuring and Special Situations
Group, UK

Anna Patashnik Associate for 2 years; Admitted in 2008; £350 0.20 70.00
Employment, Incentives and Pensions
Group, UK

Michelle Associate for 1 year; Admitted in 2010; £290 24.30 | 7,047.00

Egbosimba Litigation Group, UK.

Nathalie Legendre { Professional Development Lawyer, £485 13.00 | 6,305.00
Admitted in 1994; Corporate Group,
France

Victoire Binchet Trainee Solicitor; Litigation Group, UK £185 2.00 370.00

TOTAL 125.30 | 57,207.00

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COMPENSATION BY PROJECT CATEGORY
SEPTEMBER 01, 2010 THROUGH SEPTEMBER 30, 2010

Project Category Total Hours Total Fees (£)
Ashurst Fee Application / Monthly Billing Reports 11.00 3,850.00
Creditors Committee Meetings 5.30 1,995.00
General Claims Analysis / Claims Objections 59,20 24,302.00

Lift Stay Litigation 36.70 22,415.00
Asset / Stock Transaction / Business Liquidations 5.70 1,995.00
European Proceedings/Matters 740 2,650.00
TOTAL 125.30 57,207.00

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